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‘W 'i.=‘f-` :»§WH;S
SECURITY FIRE PROTECTION, INC., JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
ROBERT S. RUSSELL and SOUTHERN CASE NO: 2:05-2353-B

FIRE & SECURITY, INC.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS S() ORDERED AND ADJUDGED that in accordance with the Order Of Voluntary
Dismissal Without Prej udice entered on August 31, 2005, this cause is hereby dismissed without
prejudice.

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Date Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CV-02353 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

